Case 2:87-cr-00422-JAK Document 1910 Filed 12/02/92 Page 1 of 3 Page ID #:6011
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                                                               ~~~ c
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 4                                            .•                       _. _._
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 7     Los Angeles, CalYfornia 90064
       (310) 312-2000
 8
       Attorneys for Defendant
 9     Ruben Zuno-Arce

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11      '
        ~                      UNITED STATES DISTRICT COURT

12                            CENTRAL DISTRICT OF CALIFORNIA

13

14     UNITED STATES OF AMERICA,                    CASE NO. CR 87-422(F)-ER

15                        Plaintiff,                DEFENDANT RUBEN ZUNO-ARCE'S
                                                    WITNESS LIST
16           v.

17     RAFAEL CARD-QUINTERO, et. al.,

18                        Defendants.

19 i

20

21

22                  Defendant Ruben Zuno-Arce ("Mr. Zuno") hereby sets

23     forth a list of potential defense witnesses who will testify in

24     Mr. Zuno's case-in-chief.          Mr. Zuno reserves the right to make

25     additional amendments or supplements to the following list.

26     ///                                              ~j ~~~
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                                               ENDER
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Case 2:87-cr-00422-JAK Document 1910 Filed 12/02/92 Page 2 of 3 Page ID #:6012
                                    ^~   ~.


 1                1.    Ruben Zuno-Arce

 2                2.    Mrs. Ruben Zuno-Arce

 3                3.    Pedro Cuellar-Conrique

 4                4.    Teresita Vasquez-Zaragoza
 5                5.    Daniel Gonzales-Banueles

 6                6.    David Macias-Barajas~

 7                7.    Sergio Velasco-Virgen'

 8                8.    Jose Barba

 9                9.    Adolfo Garcia

10                10.   Leo Gonzales

11                11.   Jesus Anaya-Labre

12                12.   Uriel Davila-Hernandez

13                13.   Vicki Canalez

14                14.   Jesse Gonzales

15
16    DATED:    November SU , 1992        JEFFER, MANGELS, BUTLER & MARMP,RO
                                          JAMES E. BLANCARTE
17                                        MARY FULGINITI

18

19                                        By.
                                                         F GINI
20                                        Attorneys f   Defenda
                                          Ruben Zuno-Arce
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28    */ Mr. Zuno will be submitting the prior testimony of these
      individuals.
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                  '                                                           ~           J




              1                                    PRUCIF OF SERVICE
              2
              3   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES.
              4                 I am employed in.the County of Los Angeles, State of California.
              5                 I am over the age of 1S.and not a party to the within action; my business
                  address is Mitchell, Silberberg & Knupp, 113T7 West Olympic Boulevard, Los Angeles,
              6   CA 90064..
              7                On December 2,1992,I caused the document described as DEFENDANT
                  RUBEN ZUNO-ARCE'S VYTTNESS LIST to be served on interested parties in this action
              8   by placing a true copy thereof enclosed in a sealed envelope addressed as follows:.
              9
                               john Carlton, Esq.
             10                Manuel Medrano, Esq.
                               Assistant U.S. Attorneys
             11                312 North Spring Street
                               Criminal Divsion,l4th Floor
             12                Los Angeles, CA 90012
             13
                              I caused such document to be delivered by hand during normal business
            14    hors to the office of the addressees..
            15                I am employed in the office of an attorney admitted to the bar of this
                  Court at whose direction the service was made.
            16
                                I declare under penal#y of perjury under the laws of the State of
            17    California that the above is true and correct
            18                 Executed on December 2, 1992 at Los Angeles,California.
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